              Case:21-02165-jtg        Doc #:17 Filed: 10/01/2021            Page 1 of 1




                            UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF MICHIGAN

In re:                                                          Case No. GG 21-02165-jtg

EMILY ELIZABETH MCBROOM,                                        Chapter 13

                Debtor.                                         Hon. John T. Gregg
                                                /

                                      NOTICE OF HEARING

                 Re: Debtor's Motion to Extend the Automatic Stay Pursuant to 11
                                 U.S.C §362(c)(3) [Dkt. No. 16]

       PLEASE TAKE NOTICE that a hearing will be held at the United States Bankruptcy Court,
One Division Ave., N., 3rd Floor, Courtroom C, Grand Rapids, Michigan on October 20, 2021 at
10:00 a.m. (Eastern) to consider and act upon the above-referenced motion.

PLEASE NOTE: The above hearing may be adjourned or continued one or more times by
telephonic or written request if no objection is made at the hearing or by oral request at the hearing if
no objection is made or if the objection is overruled. The court may also sua sponte adjourn or
continue the hearing one or more times. If an adjournment or continuance of the above hearing is
permitted, parties in interest will not be given written notice of the adjourned or continued date or
any subsequent adjournment or continuance. Information regarding the time, date and place of any
adjourned or continued hearing may be accessed through the Bankruptcy Court’s website
(www.miwb.uscourts.gov) provided the person has a PACER login and password, or by visiting the
Clerk’s Office of the United States Bankruptcy Court located at One Division NW, 2nd Floor, Grand
Rapids, Michigan. Information about a PACER login and password may be obtained by either
contacting the PACER service center by telephone between 8:00 a.m. and 5:00 p.m. Monday
through Friday CST at (800) 676-6856 or via its website at http://pacer.psc.uscourts.gov.

Notice returned to Movant for service of this Notice and the Motion on the matrix.

                                                MICHELLE M. WILSON
                                                CLERK OF BANKRUPTCY COURT
                                                /s/
October 1, 2021                                 By: Valerie Wyn, Deputy Clerk
